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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


  Civil Case No. 20-cv-02042-PAB-SKC

  AKTIV FITNESS GROUP, LLC,

           Plaintiff,

  v.

  KEITH BURNS,

           Defendant.


  JOINT MOTION FOR MAGISTRATE-FACILITATED SETTLEMENT CONFERENCE
                      AND STAY OF LITIGATION


           Defendant Keith Burns (“Defendant”) and Plaintiff Aktiv Fitness Group, LLC

  (“Plaintiff”) (each a “Party,” and collectively, the “Parties”), through undersigned counsel,

  respectfully submit this Joint Motion for a Magistrate-Facilitated Settlement Conference and

  Stay of Litigation pursuant to D.C.COLO.LCivR 72.1(c) and D.C.COLO.LCivR 16.6(a), and in

  support thereof, state as follows:

                                           BACKGROUND

           1.        This matter arises from the Parties’ dispute over legal ownership of certain

  intellectual property related to, and rights to operate under, the “Brute Force Training” brand of

  athletic training equipment, primarily sandbags. In an attempt to resolve their dispute without

  judicial intervention, or the need for a third-party neutral, the Parties engaged in early settlement

  discussions in March 2020.




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           2.        The Parties were unable to reach mutually agreeable terms and Plaintiff filed the

  instant action on June 30, 2020 in the Colorado District Court for Larimer County. [ECF Doc.

  #2]. On July 13, 2020, Defendant removed this action to the United States District Court for the

  District of Colorado. [ECF Doc. #1].

           3.        The Scheduling Conference is currently set for September 1, 2020. Defendant’s

  response to Plaintiff’s Verified Complaint for Damages, Replevin and Application for

  Emergency Ex Parte Temporary Restraining Order and Injunctive Relief and Jury Demand

  (“Verified Complaint”), [ECF Doc. #2], is currently due on or before August 20, 2020. [ECF

  Doc. #13].

     REQUEST FOR A MAGISTRATE-FACILITATED SETTLEMENT CONFERENCE

           4.        According to D.C.COLO.LCivR 16.6(a), “all litigants in civil actions shall

  consider the use of an alternative dispute resolution process.”             Thus, pursuant to the

  aforementioned Local Rule and the Parties’ obligation to provide settlement prospects in the

  forthcoming Proposed Scheduling Order, the Parties conferred extensively to ascertain the

  viability of early resolution.

           5.        During the course of the Parties’ extensive conferral, each Party made certain

  concessions in good-faith and in an effort to determine whether they could engage in a

  meaningful settlement conference.

           6.        While the Parties have made significant progress since March 2020, both agree

  that further settlement discussions would be unproductive without a qualified mediator. Further,

  both Parties agree that Magistrate Judge S. Kato Crews is aptly suited to guide the Parties

  towards a mutually agreeable resolution based on his civil litigation experience as a private




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  practitioner and as a judge on the United States District Court for the District Colorado. See

  D.C.COLO.LCivR 72.1(c)(1) (a magistrate judge may conduct settlement conferences).

           7.        Thus, the Parties agree and prefer to continue settlement discussions at a

  settlement conference facilitated by Magistrate Judge S. Kato Crews at his earliest convenience.

                                REQUEST FOR STAY OF LITIGATION

           8.        Although a stay of proceedings in a case is generally disfavored, the Court has

  discretion to enter a stay. Slawson Expl. Co. v. Arch Specialty Ins. Co., Civil Action No. 15-cv-

  01131-KLM, 2015 U.S. Dist. LEXIS 153292, at *1–4 (D. Colo. Nov. 12, 2015); see also

  D.C.COLO.LCivR 16.6(a) (“To facilitate settlement or resolution of the suit, the district judge or

  magistrate judge exercising consent jurisdiction may stay the action in whole or in part during a

  time certain or until further order.”).

           9.        When exercising its discretion to enter a stay, the Court considers the following

  factors: (1) the interest of the plaintiff in proceeding expeditiously and the potential prejudice to

  the plaintiff of a delay; (2) the burden on the defendant; (3) the convenience to the Court; (4) the

  interests of nonparties; and (5) the public interest. Slawson Expl. Co., 2015 U.S. Dist. LEXIS

  153292, at *3–4. Each factor will be discussed in turn.

           10.       First, Plaintiff agrees that it is in its best interest, and there is no potential

  prejudice due to delay, if litigation is stayed until further order while the Parties engage in a

  magistrate-facilitated settlement conference at Magistrate Judge Crews’ earliest convenience.

  Second, Defendant agrees that he will not be burdened by a stay of this litigation, including his

  forthcoming deadline to file a response to the Verified Complaint, while the Parties engage in a

  magistrate-facilitated settlement conference.          Third, the Parties agree that prospects for




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  settlement during a settlement conference facilitated by Magistrate Judge Crews is moderate to

  probable. If a settlement is reached during the stay, the Court will preserve judicial resources

  that would otherwise be expended on protracted litigation. Additionally, the Parties request a

  settlement conference at the Court’s earliest convenience. Fourth, the nonparties that are readily

  identifiable at this time are affiliates of the Parties and early resolution would align with the

  nonparties’ interests. Finally, the public interest is served by staying the litigation to encourage

  settlement under the Local Rules of the District Court for the District of Colorado and the

  potential to preserve judicial resources that may then be applied to other matters.

           11.       In sum, based on the foregoing factors and that potential for early resolution of

  this case at a settlement conference facilitated by Magistrate Judge Crews, the Parties request a

  stay of litigation until the settlement conference is held.

           12.       Finally, the Parties note that Chief Judge Brimmer encourages settlement

  discussions but does not permit continuances for pre-trial deadlines.         See Judge Philip A.

  Brimmer’s Civil Practice Standards, § I(H)(3). The Parties respect Chief Judge Brimmer’s

  expectation that litigation proceeds efficiently and without undue delay but respectfully request

  an exception in the present matter because a stay of litigation, as opposed to a continuation of

  any pretrial deadline, best serves the Parties’ interests in potentially avoiding further litigation

  expenses and similarly serves the Court’s interest in potentially preserving judicial resources if a

  settlement is reached during the stay of litigation.

                                             CONCLUSION

           WHEREFORE, the Parties jointly and respectfully move the Court to set a settlement

  conference facilitated by Magistrate Judge Crews, at his earliest convenience, and to enter an




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  order to stay the pending litigation, including, but not limited to, Defendant’s forthcoming

  deadline to respond to Plaintiff’s Verified Complaint, until completion of the settlement

  conference.

           Respectfully submitted:

  Dated: August 17, 2020                    s/ Joshua D. Kohler
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                                     CERTIFICATE OF SERVICE

         I hereby certify that on this 17th day of August, 2020, a true and correct copy of the
  foregoing JOINT MOTION FOR MAGISTRATE-FACILITATED SETTLEMENT
  CONFERENCE AND STAY OF LITIGATION was filed with the Clerk of the Court and
  served electronically via the CM/ECF system, as follows:

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